            Case 1:12-cv-10274-RBC Document 1 Filed 02/13/12 Page 1 of 4




                               UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MASSACHUSETTS

                                                                Civil Action No. -------


Jennifer Smith,                                   *
                                 Plaintiff        *
                                                  *
                                                  *
vs.                                               *
                                                  *
Solomon and Solomon, P.C. and                     *
Julie B. Solomon,                                 *
                           Defendants             *
                                                  *
*************************************



                         COMPLAINT AND DEMAND FOR JURY TRIAL

                                             I INTRODUCTION

       1.         This is an action for actual and/or statutory damages brought by Plaintiff, Jennifer
                  Smith, an individual consumer, against Solomon and Solomon, P.C. and Julie B.
                  Solomon, for violations of the Fair Debt Collection Practices Act, 15 U.S.C.
                  Section 1692 et seq. (hereinafter "FDCP A"), which prohibits debt collectors from
                  engaging in abusive, deceptive and unfair practices.


                                             II JURISDICTION

       2.         Jurisdiction of this Court arises under 15 U.S.C. Section 1692k (d) and 28 U.S.C.
                  Section 1337. Declaratory relief is available pursuant to 28 U.S.C. Sections 2201
                  and 2002. Venue in this District is proper in that the Defendants transact business
                  here. The conduct complained of occurred here.




                                                Page 1 of 4
      Case 1:12-cv-10274-RBC Document 1 Filed 02/13/12 Page 2 of 4




                                   III PARTIES

3.      Plaintiff, Jennifer Smith, is a resident of 46 Pearl Street, Massachusetts 02740.
        Jennifer Smith was formerly known as Jennifer Gonsalves.

4.      Defendant, Solomon and Solomon, P.C. is a New York Professional Corporation
        and is engaged in the business of collecting debt in this state with its principal
        place of business located at 5 Columbia Circle, Albany, New York, A principal
        purpose of Defendant is the collection of debts and Defendant regularly attempts
        to collect debts alleged to be due another.

5.      Defendant, Solomon and Solomon, P.C. is engaged in the collection of debts
        from consumer using the mail and telephone. The Defendant regularly attempts to
        collect consumer debts alleged to be due to another. Defendant is a "debt
        collector" as defined by the FDCPA, 15 U.S.C. Section 1692a (6).

6.      The Defendant, Julie B. Solomon is an attorney who is a director of Solomon and
        Solomon, P.C. and as such is personally liable for the professional corporation's
        debts.


                          IV FACTUAL ALLEGATIONS

7.      The Defendant on behalf of North Star Capital Acquisition, LLC filed suit against
        Jennifer Smith who was formerly known as Jennifer Gonsalves. The suit was an
        attempt to collect a consumer debt. The lawsuit was filed in the New Bedford
        District Court, docket number 201033CV0386.

8.      On May 26,2010, a Judgment entered against Jennifer Smith in the amount of
        $7,159.22.

9.      On March 3,2011, the law firm of Solomon and Solomon, P.C. filed a second
        lawsuit against Jennifer Smith in the Attleboro District Court. The case was
        entitled North Star Capital, LLC vs. Jennifer Gonsalves, Defendant and U.S.
        Department oflnterior, Trustee. The docket number ofthis lawsuit was
        1134CV242. A copy of the Complaint is attached hereto and marked "A".

10.     The Complaint in the Attleboro District Court requested a judgment against
        Jennifer Smith based upon the prior judgment entered in the New Bedford District
        Court. The Complaint was signed by the Defendant, Julie B. Solomon.

11.     The Attleboro lawsuit also sought to garnish Mrs. Smith's wages from the
        Department of Interior via trustee process.

                                    Page 2 of 4
             Case 1:12-cv-10274-RBC Document 1 Filed 02/13/12 Page 3 of 4




       12.     At all times relevant, the Plaintiff herein has been a site manager by the U.S.
               Department of Interior and works at 282 North Main Street in Providence, Rhode
               Island.

       13.     At no time did Mrs. Smith live within the towns serviced by the Attleboro District
               Court. The credit card debt which was acquired by North Star Capital
               Acquisition, LLC was not entered into in any way in any of the cities or towns
               serviced by the Attleboro District Court.


                                    V CLAIM FOR RELIEF

       14.     Plaintiff repeats and realleges and incorporates by reference paragraphs 1 through
               13.

       15.     The Defendants violated the FDCPA. Defendants violations include, but are not
               limited to, the following:

               a.     The Defendants violated 15 USC Section 1692(i)(a)(2) by filing the
                      Attleboro lawsuit in a judicial district or similar legal entity other than
                      where the consumer signed the contract sued upon or where the consumer
                      resided.

       16.     As a result of the foregoing violations of the FDCP A, the Defendants are liable to
               the Plaintiff, Jennifer Smith, for declaratory judgment that Defendants conduct
               violated the FDCPA, actual damages, statutory damages, and costs and attorney's
               fees.

        Wherefore, Plaintiff, Jennifer Smith, respectfully requests that judgment be entered
against the Defendants, Solomon and Solomon, P.C. and Julie B. Solomon, for the following:

       1.      Declaratory judgment that Defendant's conduct violated the FDCP A;

       2.      Actual damages;

       3.      Statutory damages pursuant to U.S.c. Section 1692k;

       4.      Costs and reasonable attorney's fees pursuant to 15 U.S.C. Section 1692k; and
       5.      For such other and further relief as the Court may deem just and proper.




                                           Page 3 of 4
          Case 1:12-cv-10274-RBC Document 1 Filed 02/13/12 Page 4 of 4




                                 DEMAND FOR JURY TRIAL

      Please take notice that Plaintiff, Jennifer Smith, demands trial by jury in this action.

                                                     Jennifer Smith
                                                     By her Attorney,


Dated: February 10, 2012                             /s/ Roger Stanford
                                                     Roger Stanford, Esq.
                                                     STANFORD & SCHALL
                                                     100 Eighth Street
                                                     New Bedford, MA 02740
                                                     (508) 994-3393
                                                     BBO#: 476600




                                           Page 4 of 4
